           Case 1:18-cr-00182-DAD-SKO Document 53 Filed 04/04/19 Page 1 of 2



 1 NICHOLAS F. REYES, #102114
   LAW OFFICES OF NICHOLAS F. REYES
 2 1107 R STREET
   FRESNO, CA 93721
 3 Telephone: 559-486-4500
   Facsimile: 559-486-4533
 4 Email: nfreyeslaw@gmail.com

 5 Attorney for Defendant
   ELFEGO ALCALA
 6

 7                           IN THE UNITED STATES DISTRICT COURT

 8                              EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                         CASE NO. 1:18-CR-00182-LJO-SKO
10                              Plaintiff,             STIPULATION TO INCLUDE
                                                       COUNSELING PRETRIAL RELEASE
11   v.                                                CONDITION RE: DEFENDANT
                                                       ELFEGO ALCALA; AND ORDER
12   ELFEGO ALCALA,
13                              Defendant.
14

15         IT IS HEREBY STIPULATED by and between Defendant ELFEGO ALCALA,
16 through his counsel of record, Nicholas F. Reyes, and the UNITED STATES OF

17 AMERICA, by and through its counsel of record, Laura D. Withers, Assistant United States

18 Attorney for the Eastern District of California, that it would be appropriate to include a

19 condition of mental health counseling among the defendant’s pretrial release conditions. The
20 Order Setting Conditions of Release as to this defendant, dated September 28, 2018, does not

21 currently include any such condition and does not permit the Pretrial Services Agency to
     refer the defendant for mental health counseling that now appears to be necessary.
22

23 IT IS SO STIPULATED
                                                       Respectfully submitted,
24

25 Dated: 03/18/19                                     /s/ Nicholas F. Reyes
                                                       NICHOLAS F. REYES
26                                                     Attorney for Defendant
27

28
                                                   1
29

30
              Case 1:18-cr-00182-DAD-SKO Document 53 Filed 04/04/19 Page 2 of 2



 1
     IT IS SO STIPULATED
 2

 3
     Dated:03/18/19                                     /s/ Laura D. Withers
 4                                                      LAURA D. WITHERS
                                                        Assistant U.S. Attorney
 5

 6
                                                ORDER
 7
              Good cause appearing, the conditions of release for defendant ELFEGO ALCALA
 8
     shall from this date forward include the condition that he participate in mental health
 9
     counseling as directed by the Pretrial Services Agency.
10

11 IT IS SO ORDERED.

12
     Dated:     April 4, 2019                                  /s/   Sheila K. Oberto          .
13                                                  UNITED STATES MAGISTRATE JUDGE
14

15

16

17

18

19
20

21

22

23

24

25
26

27

28
                                                    2
29

30
